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                               UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OKLAHOMA

       JENNIFER GOODE, et al.,

                                               Plaintiffs,
                                                                    Case Number: 17-CV-472-GKF-JFJ
       vs.

       NUANCE COMMUNICATIONS, INC., et al.,

                                             Defendants.


                                        CLASS CERTIFICATION SCHEDULING ORDER

 1.            9-4-2018   MOTIONS FOR JOINDER OF ADDITIONAL PARTIES &/OR AMENDMENT TO THE PLEADINGS

 2.           5-23-2019   CLASS CERTIFICATION DISCOVERY CUTOFF

 3.            6-6-2019   MOTION FOR DECERTIFICATION

 4.           6-27-2019   RESPONSE TO MOTION FOR DECERTIFICATION

 5.           7-11-2019   REPLY TO MOTION FOR DECERTIFICATION

 6            8-15-2019   HEARING ON MOTION FOR DECERTIFICATION at 1:30 p.m.

 7.           9-13-2019   MOTION FOR CLASS CERTIFICATION

 8.           10-4-2019   RESPONSE TO MOTION FOR CLASS CERTIFICATION

 9.          10-18-2019   REPLY TO MOTION FOR CLASS CERTIFICATION

 10.         12-12-2019   HEARING ON MOTION FOR CLASS CERTIFICATION at 1:30 p.m.


IT IS ORDERED that no date set by this Order can be changed except for good cause and upon written Order of this
Court.
                                                            This Order is entered this 3rd day of August, 2018.


                                                                       _______________________________________
                                                                       Gregory K. Frizzell
                                                                       Chief District Judge
